                                                             FILED: May 9, 2025


                   UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT


                             ___________________

                                   No. 25-1519
                              (8:19-cv-01944-SAG)
                             ___________________

J.O.P.; M.A.L.C.; M.E.R.E.; K.A.R.C.; E.D.G.; L.M.Z., on behalf of themselves
as individuals and on behalf of others similarly situated.

             Plaintiffs - Appellees

v.

UNITED STATES DEPARTMENT OF HOMELAND SECURITY; UNITED
STATES CITIZENSHIP AND IMMIGRATION SERVICES; KIKA SCOTT,
Senior Official Performing the duties of the Director, U.S. Citizenship &
Immigration Services; KRISTI NOEM, Secretary of Homeland Security; U. S.
IMMIGRATION & CUSTOMS ENFORCEMENT; TODD LYONS, Acting
Director US Immigration and Customs Enforcement

             Defendants - Appellants

                             ___________________

                                  ORDER
                             ___________________

      Upon consideration of appellees’ motion to clarify, the court grants the

motion. This court’s earlier order entering an administrative stay is amended such

that only paragraph 2 of the district court’s order dated April 23, 2025, is
administratively stayed until May 15, 2025. The deadlines by which the parties are

to submit their respective response and reply remain unchanged.



                                     For the Court

                                     /s/ Nwamaka Anowi, Clerk
